           Case 2:05-cr-00071-MJP          Document 6       Filed 07/06/05     Page 1 of 3




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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )            CASE NO.: 05-331M
                                          )
10         Plaintiff,                     )
                                          )
11         v.                             )            DETENTION ORDER
                                          )
12   SERGEY ZARODNYUK,                    )
                                          )
13         Defendant.                     )
     ____________________________________ )
14

15 Offense charged:

16          Conspiracy to Deal Firearms without a License; Dealing Firearms without a License;

17 Possession of an Unregistered Firearm

18 Date of Detention Hearing:     July 6, 2005

19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

20 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

21 that no condition or combination of conditions which defendant can meet will reasonably assure

22 the appearance of defendant as required and the safety of other persons and the community.

23         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24          (1)    Defendant is charged by complaint with conspiring with another individual to

25 purchase firearms and firearm parts in the Ukraine and elsewhere to be shipped to the United

26 States and sold. Defendant is also charged with possessing two machine guns not registered to

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 1
           Case 2:05-cr-00071-MJP           Document 6        Filed 07/06/05       Page 2 of 3




01 him.

02          (2)     Defendant was born in the Soviet Union. He has resided in the United States since

03 1993 and is a United States citizen. His wife and two children reside in Seattle with him. The

04 rest of his family reside in the Ukraine. He has traveled to the Ukraine on a number of occasions

05 since moving to the United States.

06          (3)     According to Pretrial Services, the defendant is the subject of a protection order

07 prohibiting him from any contact with his ex-wife, and prohibits him from possessing and/or

08 purchasing a firearm or other weapon.

09          (4)     Defendant poses a risk of flight due to his contacts in the Ukraine, lack of ties to

10 this District, with the exception of his Ukrainian-born wife and two children, and frequent, recent

11 travel overseas. He presents a risk of danger due to the nature of the charges which involved the

12 alleged importation of a significant quantity of firearms and firearm parts into the United States.

13 In addition, the inference, if the instant charges are proven, that he violated a protection order

14 restricting him from possessing or purchasing firearms or weapons, would establish a history of

15 violating court orders.

16          (5)     There does not appear to be any condition or combination of conditions that will

17 reasonably assure the defendant’s appearance at future Court hearings while addressing the

18 danger to other persons or the community.

19          It is therefore ORDERED:

20          (1)     Defendant shall be detained pending trial and committed to the custody of the

21                  Attorney General for confinement in a correction facility separate, to the extent

22                  practicable, from persons awaiting or serving sentences or being held in custody

23                  pending appeal;

24          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

25                  counsel;

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     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
     PAGE 2
          Case 2:05-cr-00071-MJP         Document 6       Filed 07/06/05      Page 3 of 3




01         (3)   On order of a court of the United States or on request of an attorney for the

02               Government, the person in charge of the corrections facility in which defendant

03               is confined shall deliver the defendant to a United States Marshal for the purpose

04               of an appearance in connection with a court proceeding; and

05         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

06               counsel for the defendant, to the United States Marshal, and to the United States

07               Pretrial Services Officer.

08               DATED this 6th day of July, 2005.

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10                                                     /s/ MARY ALICE THEILER
                                                       United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 3
